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                    Exhibit 3
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           City Plating and Polishing, LLC, et al

                                                                                   1:19-cv-374-SL
    St. Augustine School of Medical Assistants, LLC




                                                        TimeShift, Inc.
                                     6922 Hollywood Blvd, Suite 800, Los Angeles, CA 90028


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          Documents sufficient to identify the name and address of the owner of the phone number 888-483-8941 during
          the period February 20, 2015 through the date of this subpoena.

          Savett Law Offices LLC, attn: Adam T. Savett
          2764 Carole Lane, Allentown PA 18104
                                                                                  09/09/2019 5:00 pm

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            08/19/2019



                                                                                       /s/ Adam T. Savett



                                                                                                        Plaintiffs,
City Plating and Polishing, LLC, et al
 Adam T. Savett, Savett Law Offices LLC, 2764 Carole Lane, Allentown PA 18104 (610) 621-4550, adam@savettlaw.com
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